1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF ARIZONA


              In Re:                                            §
                                                                §
              ALTMAN JR, JOSEPH PETER                           §      Case No. 2:17-bk-01212-DPC
                                                                §
                                  Debtor                        §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      DAVID M. REAVES, chapter 7 trustee, submits this Final Account, Certification that the
              Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 73,476.50                              Assets Exempt: 221,750.83
              (Without deducting any secured claims)

              Total Distributions to Claimants: 38,530.42              Claims Discharged
                                                                       Without Payment: 175,261.66

              Total Expenses of Administration: 28,856.69


                      3) Total gross receipts of $ 67,387.11 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 67,387.11 from the liquidation of
              the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                   CLAIMS               CLAIMS
                                                SCHEDULED         ASSERTED                 ALLOWED                PAID



SECURED CLAIMS
(from Exhibit 3)                                  $ 364,842.72               $ 0.00                $ 0.00                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA             28,856.69            28,856.69                28,856.69

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                   NA                   NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA                   NA                   NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                             228,064.04         168,786.16             168,786.16                38,530.42

TOTAL DISBURSEMENTS                               $ 592,906.76       $ 197,642.85           $ 197,642.85           $ 67,387.11


                  4) This case was originally filed under chapter 7 on 02/09/2017 . The case was pending
          for 24 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 02/07/2019                        By:/s/DAVID M. REAVES
                                                                                 Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                              EXHIBITS TO
                                                            FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

SINGLE-FAMILY HOME,
RENTAL PROPERTY OF DEBTOR,
8                                                                            1110-000                                         67,387.11

TOTAL GROSS RECEIPTS                                                                                                      $ 67,387.11
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

NA                                                                                                      NA                          NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                     $ 0.00
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                  CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE     (from Form 6D)

              OCWEN LOAN SERVICING
              LLC
              1661 WORTHINGTON RD
              #100 WEST PALM BEACH,
              FL 33409                                            103,272.00                   NA                 NA               0.00




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                                                UNIFORM        CLAIMS
                                                                                CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                              CLAIMS PAID
                                                                               ASSERTED           ALLOWED
                                                 CODE      (from Form 6D)

            OCWEN LOAN SERVICING
            LLC
            1661 WORTHINGTON RD
            #100 WEST PALM BEACH,
            FL 33409                                              89,716.72                NA               NA                0.00


            WELLS FARGO
            P O BOX 10335 DES
            MOINES, IA 50306                                     171,854.00                NA               NA                0.00

TOTAL SECURED CLAIMS                                           $ 364,842.72              $ 0.00          $ 0.00             $ 0.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

TRUSTEE
COMPENSATION:DAVID M.
REAVES                                    2100-000                    NA           6,559.36           6,559.36            6,559.36


TRUSTEE EXPENSES:DAVID M.
REAVES                                    2200-000                    NA              31.15              31.15               31.15


CLERK OF THE U.S.
BANKRUPTCY COURT                          2700-000                    NA            610.00             610.00              610.00


ATTORNEY FOR TRUSTEE FEES
(TRUSTEE FIRM):REAVES LAW
GROUP                                     3110-000                    NA          21,135.00          21,135.00           21,135.00




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                                         UNIFORM
                                                            CLAIMS              CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                          SCHEDULED            ASSERTED           ALLOWED
                                          CODE

ATTORNEY FOR TRUSTEE
EXPENSES (TRUSTEE
FIRM):REAVES LAW GROUP                    3120-000                    NA                521.18          521.18             521.18

TOTAL CHAPTER 7 ADMIN. FEES                                          $ NA         $ 28,856.69       $ 28,856.69        $ 28,856.69
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS              CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                          SCHEDULED            ASSERTED           ALLOWED
                                          CODE

NA: NA                                          NA                    NA                   NA               NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                           $ NA                $ NA             $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS            CLAIMS
                                                UNIFORM
                                                              SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                              CLAIMS PAID
                                                               (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                                   6E)             Claim)

NA          NA                                       NA                 NA                   NA              NA               NA

TOTAL PRIORITY UNSECURED                                               $ NA                $ NA             $ NA             $ NA
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)             Claim)

            BARCLAYS/AADVANTAG
            E
            P O BOX 8802
            WILMINGTON, DE 19899-
            8802                                                 5,359.00                 NA              NA               0.00


            CHASE
            P O BOX 15145
            WILMINGTON, DE 19850                                 5,531.02                 NA              NA               0.00


            CHASE/AMAZON
            P O BOX 15145
            WILMINGTON, DE 19850                                13,275.90                 NA              NA               0.00


            PROSPER MARKETPLACE
            101 SECOND ST 15TH FL
            ATTN LEGAL DEPT SAN
            FRANCISCO, CA 94105                                 18,937.00                 NA              NA               0.00


            PROSPER MARKETPLACE
            101 SECOND ST 15TH FL
            ATTN LEGALDEPT SAN
            FRANCISCO, CA 94105                                  1,903.00                 NA              NA               0.00


            AMERICAN EXPRESS
000001      NATIONAL BANK                       7100-000        12,740.00          12,726.08       12,726.08           2,905.10


000006      BANK OF AMERICA, N.A.               7100-000        46,922.00          46,922.16       46,922.16          10,711.37


            COMENITY CAPITAL
000005      BANK/PAYPAL CREDIT                  7100-000         1,206.97              992.65        992.65             226.60




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

000002      MS PAULA B ALTMAN                   7100-000         95,060.00          80,846.78        80,846.78          18,455.66


            PYOD, LLC ITS
            SUCCESSORS AND
000003      ASSIGN                              7100-000         21,149.15          21,149.15        21,149.15           4,827.92


            PYOD, LLC ITS
            SUCCESSORS AND
000004      ASSIGN                              7100-000          5,980.00            6,149.34        6,149.34           1,403.77

TOTAL GENERAL UNSECURED                                       $ 228,064.04       $ 168,786.16     $ 168,786.16       $ 38,530.42
CLAIMS




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                                                                                                FORM 1
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       1
                                                                                             ASSET CASES                                                                                                    Exhibit 8
Case No:            17-01212       DPC    Judge: DANIEL P. COLLINS                                                                    Trustee Name:                     DAVID M. REAVES
Case Name:          ALTMAN JR, JOSEPH PETER                                                                                          Date Filed (f) or Converted (c):   02/09/17 (f)
                                                                                                                                     341(a) Meeting Date:               03/13/17
For Period Ending: 02/07/19                                                                                                          Claims Bar Date:                   04/27/18



                                      1                                              2                          3                         4                         5                                 6
                                                                                                       Estimated Net Value
                                                                                 Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                                 Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                        Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. SINGLE-FAMILY HOME,                                                            155,000.00                       155,000.00                                          67,387.11                  FA
 RENTAL PROPERTY OF DEBTOR,
 8
     Secured lender has foreclosed, and excess proceeds of $67,417.44
     remain after foreclosure sale, and held by the Clerk of the Maricopa
     County Superior Court.


 2. CONDOMINIUM OR COOPERATIVE,                                                    226,772.00                        76,772.00                                               0.00                  FA
 RESIDENCE OF DEBTOR,


 3. 2010 FORD FUSION (VEHICLE OF DEBTOR (PER APPRAISAL                               6,163.00                          163.00                                                0.00                  FA


 4. HOUSEHOLD GOODS ($2,220.00), 3 TVS, STEREO, DVR, D                               2,845.00                             0.00                                               0.00                  FA


 5. BOOKS OF DEBTOR                                                                      250.00                           0.00                                               0.00                  FA


 6. BICYCLE, GUN/AMMUNITION, LAPTOP, IPAD OF DEBTOR                                  1,070.00                            70.00                                               0.00                  FA


 7. SNOWBOARD, WEIGHTS, ELLIPTICAL MACHINE OF DEBTOR                                     300.00                        300.00                                                0.00                  FA


 8. GUN OF DEBTOR                                                                        200.00                        200.00                                                0.00                  FA


 9. CLOTHING OF DEBTOR                                                                   500.00                           0.00                                               0.00                  FA


 10. WATCH OF DEBTOR                                                                      50.00                           0.00                                               0.00                  FA




LFORM1                                                                                                                                                                                                            Ver: 21.00a
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:        2
                                                                                               ASSET CASES                                                                                                               Exhibit 8
Case No:             17-01212       DPC     Judge: DANIEL P. COLLINS                                                                            Trustee Name:                      DAVID M. REAVES
Case Name:           ALTMAN JR, JOSEPH PETER                                                                                                   Date Filed (f) or Converted (c):    02/09/17 (f)
                                                                                                                                               341(a) Meeting Date:                03/13/17
                                                                                                                                               Claims Bar Date:                    04/27/18



                                       1                                                    2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 11. WATCH OF DEBTOR                                                                             50.00                             50.00                                                0.00                     FA


 12. DOG OF DEBTOR                                                                                0.00                              0.00                                                0.00                     FA


 13. CASH OF DEBTOR                                                                              10.00                             10.00                                                0.00                     FA


 14. FIDELITY INVESTMENTS                                                                       231.75                              0.00                                                0.00                     FA


 15. PROPSER                                                                                      5.27                              5.27                                                0.00                     FA


 16. H & R BLOCK                                                                                 28.12                             28.12                                                0.00                     FA


 17. FIDELITY INVESTMENTS                                                                         1.36                              1.36                                                0.00                     FA


 18. FIDELITY INVESTMENTS                                                                  55,896.68                                0.00                                                0.00                     FA


 19. FIDELITY INVESTMENTS                                                                       854.15                              0.00                                                0.00                     FA


 20. DOMAIN NAMES - 6 WITH DEBTOR'S NAME, 6 WITH DEBTOR                                           0.00                              0.00                                                0.00                     FA

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $450,227.33                         $232,599.75                                          $67,387.11                            $0.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




LFORM1                                                                                                                                                                                                                          Ver: 21.00a
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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Page:       3
                                                                                        ASSET CASES                                                                           Exhibit 8
Case No:            17-01212       DPC     Judge: DANIEL P. COLLINS                                                    Trustee Name:                      DAVID M. REAVES
Case Name:          ALTMAN JR, JOSEPH PETER                                                                            Date Filed (f) or Converted (c):   02/09/17 (f)
                                                                                                                       341(a) Meeting Date:               03/13/17
                                                                                                                       Claims Bar Date:                   04/27/18


   TDR submitted to UST on 2/7/19.


   Initial Projected Date of Final Report (TFR): 06/01/18     Current Projected Date of Final Report (TFR): 10/01/18




LFORM1                                                                                                                                                                              Ver: 21.00a
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:           17-01212 -DPC                                                                                         Trustee Name:                    DAVID M. REAVES
  Case Name:         ALTMAN JR, JOSEPH PETER                                                                               Bank Name:                       UNION BANK
                                                                                                                           Account Number / CD #:           *******6455 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2733
  For Period Ending: 02/07/19                                                                                              Blanket Bond (per case limit):   $ 27,456,481.00
                                                                                                                           Separate Bond (if applicable):


           1             2                              3                                                 4                                            5                      6                   7
    Transaction      Check or                                                                                                     Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)         Balance ($)
                                                                                BALANCE FORWARD                                                                                                             0.00


          09/17/18      1        MARICOPA COUNTY TREASURER                      EXCESS PROCEEDS FROM SALE OF RENTAL              1110-000               67,387.11                                     67,387.11


          09/19/18    300001     REAVES LAW GROUP                               ATTORNEY FOR TTE FEES/EXPENSES                                                                21,656.18               45,730.93
                                 2999 N. 44th STREET, SUITE 515                 PER ORDER GRANTING PAYMENT SINGED ON
                                 PHOENIX, ARIZONA 85018                         8/28/18.
                                                                                       Fees                   21,135.00          3110-000
                                                                                       Expenses                521.18            3120-000


          11/27/18    300002     DAVID M. REAVES                                Chapter 7 Compensation/Expense                                                                    6,590.51            39,140.42
                                 P.O. BOX 44320
                                 PHOENIX, AZ 85064
                                                                                       Fees                   6,559.36           2100-000
                                                                                       Expenses                 31.15            2200-000


          11/27/18    300003     Clerk of the U.S. Bankruptcy Court             Case Reopening Fee                               2700-000                                          260.00             38,880.42
                                 230 N. First Ave., Ste. 101
                                 Phoenix, AZ 85003


          11/27/18    300004     Clerk of the U.S. Bankruptcy Court             ADV. FILING FEE 18-ap-00217                      2700-000                                          350.00             38,530.42
                                 230 N. First Ave., Ste. 101
                                 Phoenix, AZ 85003


          11/27/18    300005     AMERICAN EXPRESS NATIONAL BANK                 Claim 000001, Payment 22.82793%                  7100-000                                         2,905.10            35,625.32
                                 C/O BECKET AND LEE LLP                         ACCT. NO. 2009
                                 PO BOX 3001
                                 MALVERN PA 19355-0701




                                                                                                                           Page Subtotals               67,387.11                 31,761.79
                                                                                                                                                                                                      Ver: 21.00a
LFORM24                              Case 2:17-bk-01212-DPC
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:           17-01212 -DPC                                                                                    Trustee Name:                    DAVID M. REAVES
  Case Name:         ALTMAN JR, JOSEPH PETER                                                                          Bank Name:                       UNION BANK
                                                                                                                      Account Number / CD #:           *******6455 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2733
  For Period Ending: 02/07/19                                                                                         Blanket Bond (per case limit):   $ 27,456,481.00
                                                                                                                      Separate Bond (if applicable):


           1             2                           3                                               4                                            5                       6                   7
    Transaction      Check or                                                                                                Uniform                                                      Account / CD
       Date          Reference             Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          11/27/18    300006     MS PAULA B ALTMAN                            Claim 000002, Payment 22.82795%               7100-000                                       18,455.66              17,169.66
                                 11617 W PALO VERDE AVE
                                 YOUNGTOWN AZ 85363


          11/27/18    300007     RESURGENT CAPITAL SERVICES                   Claim 000003, Payment 22.82796%               7100-000                                          4,827.92            12,341.74
                                 PO BOX 19008                                 ACCT. NO. 9897
                                 GREENVILLE, SC 29602


          11/27/18    300008     RESURGENT CAPITAL SERVICES                   Claim 000004, Payment 22.82798%               7100-000                                          1,403.77            10,937.97
                                 PO BOX 19008                                 ACCT. NO. 1400
                                 GREENVILLE, SC 29602


          11/27/18    300009     COMENITY CAPITAL BANK/PAYPAL CREDIT          Claim 000005, Payment 22.82778%               7100-000                                           226.60             10,711.37
                                 C/O WEINSTEIN & RILEY, PS                    ACCT. NO. 5474
                                 PO BOX 3978
                                 SEATTLE, WA 98124-3543


          11/27/18    300010     BANK OF AMERICA, N.A.                        Claim 000006, Payment 22.82796%               7100-000                                       10,711.37                    0.00
                                 P O BOX 15102                                ACCT. 0081
                                 WILMINGTON, DE 19886-5102




                                                                                                                      Page Subtotals                        0.00              35,625.32
                                                                                                                                                                                                  Ver: 21.00a
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                                                                ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit 9
  Case No:          17-01212 -DPC                                                                                   Trustee Name:                       DAVID M. REAVES
  Case Name:        ALTMAN JR, JOSEPH PETER                                                                         Bank Name:                          UNION BANK
                                                                                                                    Account Number / CD #:              *******6455 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2733
  For Period Ending: 02/07/19                                                                                       Blanket Bond (per case limit):      $ 27,456,481.00
                                                                                                                    Separate Bond (if applicable):


          1            2                        3                                               4                                                 5                          6                         7
    Transaction    Check or                                                                                                Uniform                                                               Account / CD
       Date        Reference          Paid To / Received From                       Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                                                                                COLUMN TOTALS                                      67,387.11                  67,387.11                          0.00
                                                                                                    Less: Bank Transfers/CD's                           0.00                       0.00
                                                                                                Subtotal                                           67,387.11             67,387.11
                                                                                                    Less: Payments to Debtors                                                 0.00
                                                                                                Net
                                                                                                                                                   67,387.11             67,387.11
                                                                                                                                                                        NET                             ACCOUNT
                                                                                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                               Checking Account (Non-Interest Earn - ********6455                   67,387.11                   67,387.11                         0.00
                                                                                                                                        ------------------------    ------------------------   ------------------------
                                                                                                                                                    67,387.11                   67,387.11                         0.00
                                                                                                                                        ==============             ==============              ==============
                                                                                                                                         (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                    Transfers)               To Debtors)                    On Hand




                                                                                                                    Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                           Ver: 21.00a
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